        Case 1:21-mj-06784-MPK Document 4-1 Filed 12/20/21 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH THE
 CELLULAR DEVICE ASSIGNED CALL                    21-MJ-6784-MPK
 NUMBER 617-352-9469 THAT IS STORED
 AT PREMISES CONTROLLED BY                        Filed Under Seal
 VERIZON WIRELESS


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, John Oliveira, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant for

information associated with a certain cellular telephone assigned call number 617-352-9469,

(“the SUBJECT PHONE”), that is stored at premises controlled by Verizon Wireless, a cellular

service provider headquartered at 180 Washington Valley Road, Bedminster, NJ

07921(“Verizon”). The information to be searched is described in the following paragraphs and

in Attachment A. This affidavit is made in support of an application for a search warrant under

18 U.S.C. § 2703(c)(1)(A) to require Verizon to disclose to the government copies of the

information further described in Section I of Attachment B. Upon receipt of the information

described in Section I of Attachment B, government-authorized persons will review the

information to locate items described in Section II of Attachment B.

       2.     I am a Police Officer with the Somerville Police Department and have been so

employed since 1997. In 2000, I was assigned to the Detective Bureau of the Somerville Police

Department. In June 2008, I was assigned to the FBI Boston Division’s Violent Crimes Task

Force ("VCTF"), which comprises law enforcement officers from the FBI, Massachusetts State
        Case 1:21-mj-06784-MPK Document 4-1 Filed 12/20/21 Page 2 of 17




Police (“MSP”), and other local police departments. I have been sworn in as a Special Deputy

U.S. Marshal. As a member of the VCTF, I am responsible for investigating kidnappings,

murders, robberies, extortion, and other violent crimes. My investigations have included the use

of surveillance techniques and the execution of search, seizure, and arrest warrants.

       3.      On December 16, 2021, this Court issued a complaint charging JOHN

SCHURKO (“SCHURKO”) with affecting commerce by robbery, in violation of 18 U.S.C.

§ 1951. A copy of the complaint, including the supporting affidavit (“Complaint Affidavit”), are

attached hereto, and the facts set forth in the affidavit are hereby incorporated by reference as if

fully set forth herein. The facts in the Complaint Affidavit, and additional facts set forth in this

affidavit, come from my personal observations, my training and experience, and information

obtained from other agents and witnesses. This affidavit is intended to show merely that there is

sufficient probable cause for the requested warrant and does not set forth all of my knowledge

about this matter.

       4.      Based on the facts set forth in this affidavit, there is probable cause to believe that

SCHURKO committed a violation of 18 U.S.C. § 1951 at or around 8:00 p.m. on December 12,

2021. There is also probable cause to search the information described in Attachment A for

evidence of this crime as further described in Attachment B.

                                          PROBABLE CAUSE

       5.      The Complaint Affidavit describes the robbery of the Harvard Market at

approximately 8:00 p.m. on December 12, 2021 and, as part of the probable cause showing that

SCHURKO committed the robbery, provides probable cause to believe that SCHURKO used a

GMC Yukon to drive from the AC Hotel in Medford, where he was a registered guest, to a

location near the Harvard Market, and then used the GMC Yukon to drive back to the AC Hotel

                                                  2
        Case 1:21-mj-06784-MPK Document 4-1 Filed 12/20/21 Page 3 of 17




after committing the robbery. Surveillance video of the AC Hotel parking lot shows that

SCHURKO got into the GMC Yukon and left the parking lot at approximately 7:30 p.m., and

that he returned to the parking lot at approximately 8:15 p.m. We arrested SCHURKO on the

afternoon of December 16, 2021, after he had checked out of the AC Hotel and was about to

enter the GMC Yukon. When we arrested SCHURKO he had a cell phone on his person. There

is probable cause to believe this is the SUBJECT PHONE, both because a database available to

law enforcement indicates that SCHURKO is the subscriber for the SUBJECT PHONE and

because SCHURKO has provided the call number for the SUBJECT PHONE as his phone

number to FBI Special Agents in the recent past, including Special Agent Kristin Koch, who, as

related in the Complaint Affidavit, has had recent contact with SCHURKO. Based on the

information set forth below, there is probable cause to believe that records regarding the

SUBJECT PHONE, including in particular location information, will show the defendant’s

whereabouts at and around the time of the robbery and therefore constitute evidence of the

robbery.

       6.      Based on my training and experience, I know that people who have cell phones

commonly carry their cell phones with them. Through my experience as a member of the FBI

VCTF, I know this to be true in particular of people who commit robberies.

       7.      Information in the following paragraphs is based on my training and experience

and my contacts with other members of law enforcement, including FBI Special Agents who

have an expertise in cell phones, wireless providers, how cell phones interact with cell towers,

and what types of records wireless providers keep regarding such interactions.

       8.      Verizon is a company that provides cellular telephone access to the general

public. Providers of cellular telephone service have technical capabilities that allow them to

                                                 3
        Case 1:21-mj-06784-MPK Document 4-1 Filed 12/20/21 Page 4 of 17




collect and generate information about the locations of the cellular telephones to which they

provide service, including cell-site data, also known as “tower/face information” or “cell

tower/sector records.” Cell-site data identifies the “cell towers” (i.e., antenna towers covering

specific geographic areas) that received a radio signal from the cellular telephone and, in some

cases, the “sector” (i.e., faces of the towers) to which the telephone connected. These towers are

often a half-mile or more apart, even in urban areas, and can be 10 or more miles apart in rural

areas. Furthermore, the tower closest to a wireless device does not necessarily serve every call

made to or from that device. Accordingly, cell-site data provides an approximate location of the

cellular telephone but is typically less precise than other types of location information, such as E-

911 Phase II data or Global Positioning Device (“GPS”) data.

        9.      Verizon can collect cell-site data about the SUBJECT PHONE. Wireless

providers such as Verizon typically collect and retain cell-site data pertaining to cellular phones

to which they provide service in their normal course of business in order to use this information

for various business-related purposes. A preservation for such records for the SUBJECT

PHONE was served on Verizon on December 14, 2021.

        10.     Verizon also collects per-call measurement data, which Verizon also refers to as

the “real-time tool” (“RTT”). RTT data estimates the approximate distance of the cellular device

from a cellular tower based on the speed with which signals travel between the device and the

tower. This information can be used to estimate an approximate location range that is more

precise than typical cell-site data.

        11.     Wireless providers such as Verizon typically collect and retain information about

their subscribers in their normal course of business. This information can include basic personal

information about the subscriber, such as name and address, and the method(s) of payment (such

                                                 4
        Case 1:21-mj-06784-MPK Document 4-1 Filed 12/20/21 Page 5 of 17




as credit card account number) provided by the subscriber to pay for wireless telephone service.

Providers such as Verizon typically collect and retain information about their subscribers’ use of

the wireless service, such as records about calls or other communications sent or received by a

particular phone and other transactional records, in their normal course of business. This

information may constitute evidence of the crime under investigation because the information

can be used to identify the SUBJECT PHONE’s user or users and may assist in the identification

of co-conspirators.

                                AUTHORIZATION REQUEST


       12.     Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.

       13.     I further request that the Court direct Verizon to disclose to the government any

information described in Section I of Attachment B that is within its possession, custody, or

control. Because the warrant will be served on Verizon, who will then compile the requested

records at a time convenient to it, reasonable cause exists to permit the execution of the

requested warrant at any time in the day or night.

       14.     I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that will seek to determine whether others

were involved in the robbery and will seek further evidence regarding the SUBJECT PHONE.




                                                  5
        Case 1:21-mj-06784-MPK Document 4-1 Filed 12/20/21 Page 6 of 17




       15.    Accordingly, there is good cause to seal these documents.

                                                  Respectfully submitted,
                                                     /s/ John Oliveira

                                                  John Oliveira
                                                  FBI Task Force Officer


Sworn to by telephone in accordance with Fed. Rule Crim. P. 4.1 this 20th day of December,
2021.



_________________________________________
HON. M. PAGE KELLEY
CHIEF UNITED STATES MAGISTRATE JUDGE




                                              6
                     Case1:21-mj-06784-MPK
                    Case   1:21-mj-06767-MPK Document
                                              Document4-1
                                                       1 Filed
                                                          Filed 12/16/21
                                                                12/20/21 Page
                                                                         Page 17 of
                                                                                 of 117
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                   District of
                                               __________      Massachusetts
                                                            District of __________

                  United States of America                       )
                             v.                                  )
                      JOHN SCHURKO
                                                                 )      Case No.
                                                                 )                 21-MJ-6767-MPK
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               December 12, 2021              in the county of              Middlesex           in the
                       District of       Massachusetts       , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. 1951                               in that the defendant did obstruct, delay, and affect commerce and the
                                             movement of any article or commodity in commerce by robbery.




         This criminal complaint is based on these facts:
See attached affidavit.




         ✔ Continued on the attached sheet.
         u
                                                                              /s/ John Oliveira
                                                                                            Complainant’s signature

                                                                                  John Oliveira, FBI Task Force Officer
                                                                                             Printed name and title

Sworn to b\WHOHSKRQH.


Date:             12/1/2021
                                                                                               Judge’s signature

City and state:                   Boston, Massachusetts                    Hon. M. Page Kelley, Chief U.S. Magistrate Judge
                                                                                             Printed name and title
    Case1:21-mj-06784-MPK
    Case 1:21-mj-06767-MPK Document
                           Document4-1
                                    1-1 Filed
                                        Filed12/20/21
                                              12/16/21 Page
                                                       Page81of
                                                             of17
                                                                7




                           AFFIDAVIT IN SUPPORT OF
                         APPLICATION FOR COMPLAINT

   I, John Oliveira, depose and state as follows:

                      INTRODUCTION AND BACKGROUND

1. I am a Police Officer with the Somerville Police Department and have been so employed

   since 1997. In 2000, I was assigned to the Detective Bureau of the Somerville Police

   Department. In June 2008, I was assigned to the FBI Boston Division’s Violent Crimes

   Task Force ("VCTF"), which comprises law enforcement officers from the FBI,

   Massachusetts State Police (“MSP”), and other local police departments. I have been sworn

   in as a Special Deputy U.S. Marshal. As a member of the VCTF, I am responsible for

   investigating kidnappings, murders, robberies, extortion, and other violent crimes. My

   investigations have included the use of surveillance techniques and the execution of search,

   seizure, and arrest warrants.

2. I make this affidavit in support of an application for a complaint charging JOHN

   SCHURKO, YOB 1965 (“SCHURKO”), with affecting commerce by robbery, in

   violation of 18 U.S.C. § 1951.

                                    SUMMARY OF FACTS

3. On December 12, 2021, at approximately 8:00 p.m., a white male robbed the Harvard

   Market (the “Market”) located at 229 Highland Avenue in Malden, Massachusetts.         The

   Market is a convenience store that purchases some of the items it sells from outside of

   Massachusetts.

4. A report by the Malden Police Department (“Malden PD”) includes, in part, the

   following information. At around 8:11 p.m. officers went to the Market in response to a

   report of an armed robbery. An officer spoke to the victim clerk who said that someone
    Case1:21-mj-06784-MPK
    Case 1:21-mj-06767-MPK Document
                           Document4-1
                                    1-1 Filed
                                        Filed12/20/21
                                              12/16/21 Page
                                                       Page92of
                                                             of17
                                                                7




   had robbed the store and left. The victim told the police, among other things, that a white

   male who was about 5'10” and was wearing a black jacket and a ski mask entered the

   store. The robber pointed a gun at him and then went behind the counter and asked the

   victim to give him all the money. The victim gave the robber the money in the register

   and the robber asked the victim to open the three wooden boxes where money is also

   kept. The victim opened the boxes and gave the robber that money. The robber then

   asked the victim for the money in the safe and counted to three, telling the victim that if

   he did not open the safe the robber would shoot him. The victim told the robber he did

   not have access to the safe but would give him some money he had in his wallet. The

   victim knelt and begged the robber not to kill him. The robber went back around the

   counter. The victim offered the robber money he had in his wallet but the robber said he

   did not want the victim's money. The robber put the money from the register and wooden

   boxes in his pocket and left the store. The victim estimated that the robber took

   approximately $3,000.

5. A Malden PD officer also watched surveillance video of the robbery. In addition to

   describing the robbery as shown in the video, the officer described in a report what he

   believed the video depicted regarding the robber’s appearance: a male, approximately

   5"10”, who was wearing a blue hat, a black 3/4 zip jacket with a white logo on the chest

   area, black gloves, a black ski mask, blue jeans, and black and white sneakers. The

   officer described the weapon as a black handgun, which the robber took out of his left

   pocket.

6. On Monday, December 13, 2021, at approximately 10:00 a.m., I spoke with the victim.

   The victim told me, in substance and among other things, that he was working behind the
    Case1:21-mj-06784-MPK
   Case  1:21-mj-06767-MPK Document
                            Document4-1
                                     1-1 Filed
                                          Filed12/20/21
                                                12/16/21 Page
                                                          Page10
                                                               3 of 7
                                                                    17




   cash register when a white male entered the store, immediately brandished a firearm,

   walked behind the counter and ordered him to give him all of his money. The victim

   stated that the robber was not a young person and estimated him to be between 45-55

   years old. The victim told me that the robber was approximately 5’10” to 6’ tall but that

   he couldn’t be sure because he was extremely nervous. The victim also told me, among

   other things, that the robber took the cash the victim gave him and put it in various

   pockets, including a rear pants pocket. The victim assisted me in viewing surveillance

   video of the robbery and provided me with several short clips of the Market’s

   surveillance video. I have seen video of the robber leaving the store with what appears to

   be cash protruding from his left rear pants pocket, and video from the street showing the

   same.

7. At this point, I, along with VCTF members MSP Trooper Michael Haines and Malden

   Detective Robert DiSalvatore, began canvassing the area for additional surveillance

   video. Task Force members were able to retrieve surveillance video from the Mystic

   Valley Regional Charter School located directly across the street from the Market, a

   residential home located on Emerald Street, and a second residential home at the corner

   of Emerald and Richard Streets. (If one turns left after leaving the Market, the first

   street one gets to that intersects with Highland Avenue is Emerald Street. If one turns

   right at that intersection, the first intersection one reaches is Richard Street and Emerald

   Street.) After reviewing surveillance video, investigators were able to identify the

   vehicle the suspect used following the robbery: an older model, white, large SUV, which

   appeared possibly to be a Chevrolet Denali or Cadillac Escalade. A review of

   surveillance video from shortly before the robbery during the time leading up to the
    Case1:21-mj-06784-MPK
   Case  1:21-mj-06767-MPK Document
                            Document4-1
                                     1-1 Filed
                                          Filed12/20/21
                                                12/16/21 Page
                                                          Page11
                                                               4 of 7
                                                                    17




   robbery showed this vehicle circling the area on multiple occasions. The vehicle then

   parked at the corner of Richard and Emerald Streets until the time of the robbery. The

   robber returned to this vehicle after the robbery and left the area.

8. We were not able to accurately identify the SUV or get a plate number. During the early

   morning and into the afternoon of December 14, 2021, VCTF members conducted

   multiple checks of hotels and motels located in Woburn, Everett, Revere, and Saugus in

   an attempt to locate a vehicle consistent with the SUV that was used in the robbery.

   Information was relayed to other Task Force officers who conducted additional hotel

   checks in the area of Medford, Somerville, Everett, Woburn, Malden, and Saugus. As a

   result of these hotel checks, a white 2005 GMC Yukon bearing MA registration 3FBH19

   (the “Yukon”), was observed in the parking lot of the AC Hilton Hotel, located at 95

   Station Landing in Medford. The vehicle is registered to a woman at an address in

   Billerica, MA.

9. SCHURKO was a suspect in three other robberies that we were investigating. Task

   Force members made contact with hotel management and, among other things, asked

   whether SCHURKO was staying there. Hotel personnel told the investigators that

   SCHURKO had been staying there since December 6, 2021, and was using a credit card

   to pay for his room.

10. The Medford Police Department has access to the exterior surveillance cameras and

   associated surveillance video for Station Landing. Members of the Malden PD checked

   the cameras for December 12, 2021, starting at 7:00 p.m. Video shows that the Yukon

   was backed into the parking spots opposite the side entrance door to the hotel. At

   approximately 7:35 p.m. a white male wearing what appeared to be a black 3/4 zip
    Case1:21-mj-06784-MPK
   Case  1:21-mj-06767-MPK Document
                            Document4-1
                                     1-1 Filed
                                          Filed12/20/21
                                                12/16/21 Page
                                                          Page12
                                                               5 of 7
                                                                    17




   pullover, a black neck gaiter pulled down around his neck area, blue jeans, black sneakers

   with white soles and out soles, and a white baseball cap walked from the hotel and

   entered the driver’s side of the Yukon. The clothing is consistent with that worn by the

   robber, except that the robber wore a blue bucket hat rather than a baseball cap and was

   wearing gloves. In addition, the robber had a black neck gaiter covering most of his face

   while the neck gaiter on the man who entered the Yukon was pulled down around the

   man’s neck. After the man entered the Yukon it travelled on Station Landing, turning left

   onto Earhart Landing. It then travelled through Wellington Circle onto Middlesex

   Avenue in Medford. Middlesex Avenue in Medford becomes Highland Avenue when it

   crosses into Malden. The Market is located on Highland Avenue in Malden.

11. I have viewed the video of the man entering the Yukon as described above. I am

   familiar with the appearance of SCHURKO and believe this man was SCHURKO.

12. The members of the Malden PD continued to watch the video of the hotel parking lot and

   observed that the Yukon returned to the hotel parking lot at about 8:15 p.m. The white

   male that exited the Yukon appeared to be wearing the same clothing as when he got into

   it earlier: a white baseball cap, blue jeans, a black 3/4zip pullover, and black sneakers

   with white soles and out soles. Because the pullover was zipped up at this point any

   neck gaiter he was wearing is not visible. The two additions are that, like the Market

   robber, he was now wearing black gloves. Also like the robber, the man who got out of

   the car had protruding from his left rear pants pocket an item or items consistent with

   cash. He then walked toward the hotel and entered through the side door. This male can

   then be seen on video walking up the staircase that faces Station Landing, appearing to

   exit the stairwell onto the third floor.
    Case1:21-mj-06784-MPK
   Case  1:21-mj-06767-MPK Document
                            Document4-1
                                     1-1 Filed
                                          Filed12/20/21
                                                12/16/21 Page
                                                          Page13
                                                               6 of 7
                                                                    17




 Again, I believe the man depicted in the hotel parking lot video is SCHURKO. I am

   familiar with the area in which the Hotel and the Market are located. I know that one

   can drive from the hotel to the Market, or from the Market to the hotel, within

   approximately five minutes during periods of normal traffic. The third floor of the hotel

   is where the room SCHURKO was staying is located.

 Investigators have also viewed surveillance video from inside the hotel. We have seen

   numerous images of SCHURKO inside the hotel.

 In addition, I learned today that an FBI Special Agent, Kristin Koch, happened to have

   met with SCHURKO on an unrelated matter on December 8, 2021. SCHURKO was

   wearing, among other things, blue jeans and a black neck gaiter pulled up over his nose

   when he came out of the hotel. . Special Agent Koch has viewed video of the robber

   and is 95% sure that it is SCHURKO given that the robber appears to be wearing the

   same jeans SCHURKO was wearing on December 8, appears to be wearing the same

   neck gaiter, was walking in a manner consistent with the way Special Agent Koch has

   seen SCHURKO walk, and the portion of the face that was visible above the gaiter

   appears to be the same as the portion of the face Special Agent Kock could see when she

   saw SCHURKO on December 8. Special Agent Koch has also reviewed video of the

   man leaving and returning to the hotel parking lot in the Yukon and is certain that it is

   SCHURKO.

 SCHURKO checked out of the hotel \HVWHUday. We were conducting surveillance. As

   SCHURKO approached the Yukon with a grey duffle bag and a white trash bag, he was

   placed under arrest. We have since executed a search warrant with respect to the Yukon

   and property that was immediately adjacent to the Yukon when we arrested SCHURKO.
    Case1:21-mj-06784-MPK
   Case  1:21-mj-06767-MPK Document
                            Document4-1
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                                          Filed12/20/21
                                                12/16/21 Page
                                                          Page14
                                                               7 of 7
                                                                    17




   Among other things, we recovered blue jeans consistent with those worn by the robber in

   Malden, black gloves, a black neck gaiter, and a black Airsoft handgun that appears

   consistent with the weapon shown during the Malden robbery. SCHURKO was also

   wearing sneakers consistent with those worn during the robbery. We did not recover the

   ¾ zip jacket, but that jacket has a unique logo on it, and we recovered a T-shirt with the

   same logo. We believe the logo is that of a union for which SCHURKO’s girlfriend

   works.

17. Based on the foregoing, there is probable cause to believe that SCHURKO robbed the

   Market on December 12, 2021, and thereby affected commerce by robbery, in violation

   of 18 U.S.C. § 1951.
                                                    /s/ John Oliveira
                                                 ______________________________
                                                 John Oliveira
                                                 FBI Task Force Officer

   Attested to by telephone this 16th day of December, 2021.



                                                 _____________________________
                                                 Hon. M. Page Kelley
                                                 Chief U.S. Magistrate Judge
       Case 1:21-mj-06784-MPK Document 4-1 Filed 12/20/21 Page 15 of 17




                                      ATTACHMENT A


                                   Property to Be Searched


       This warrant applies to records and information associated with the cellular telephone

assigned call number 617-352-9469, that are stored at premises controlled by Verizon Wireless,

a cellular service provider headquartered at 180 Washington Valley Road, Bedminster, NJ 07921

(the “Provider”).
     Case 1:21-mj-06784-MPK Document 4-1 Filed 12/20/21 Page 16 of 17




                                    ATTACHMENT B


                              Particular Things to be Seized


I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is

still available to the Provider or that has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), the Provider is required to disclose to the government the following

information pertaining to the Account listed in Attachment A for the time period between

7:00 p.m. EST and 9:00 p.m. EST on December 12, 2021.

        a. The following information about the customers or subscribers of the Account:

                i. Names (including subscriber names, user names, and screen names);

                ii. Addresses (including mailing addresses, residential addresses, business
                    addresses, and e-mail addresses);

               iii. Local and long distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Protocol (“IP”) addresses) associated
                   with those sessions;

                v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic
                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                   Integrated Services Digital Network Number (“MSISDN”); International
                   Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                   Equipment Identities (“IMEI”);

              vii. Other subscriber numbers or identities (including the registration Internet
                   Protocol (“IP”) address); and
         Case 1:21-mj-06784-MPK Document 4-1 Filed 12/20/21 Page 17 of 17




                  viii. Means and source of payment for such service (including any credit card
                        or bank account number) and billing records.

            b. All records and other information (not including the contents of communications)

                relating to wire and electronic communications sent or received by the Account,

                including:

                    i. the date and time of the communication, the method of the

                        communication, and the source and destination of the communication

                        (such as the source and destination telephone numbers (call detail

                        records), email addresses, and IP addresses); and

                    ii. information regarding the cell tower and antenna face (also known as

                        “sectors”) through which the communications were sent and received as

                        well as per-call measurement data (also known as the “real-time tool” or

                        “RTT” data).

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence of a violation of 18

U.S.C. § 1951 involving John Schurko during the period between 7:00 p.m. EST and 9:00 p.m.

EST on December 12, 2021.




                                                  2
